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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                     Office of the Clerk
        United States Courthouse
                                                                                    Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
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          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
June 12, 2025

                                                        Before
                                          DIANE S. SYKES, Chief Judge
                                          FRANK H. EASTERBROOK, Circuit Judge
                                          THOMAS L. KIRSCH II, Circuit Judge

                                     D.P., a minor, by her mother and next friend, A.B.,
                                                 Plaintiff - Appellee

                                     v.
No. 23-2568

                                     MUKWONAGO AREA SCHOOL DISTRICT and JOSEPH KOCH,
                                     Superintendent,
                                                Defendants - Appellants
Originating Case Information:
District Court No: 2:23-cv-00876-LA
Eastern District of Wisconsin
District Judge Lynn Adelman


The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision of
this court entered on this date.




                                                                          Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
